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                       EXHIBIT P
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                                                                            ARTICLE


               Variation Among Neonatal Intensive Care Units
               in Narcotic Administration
               Doron J. Kahn; Douglas K. Richardson, MD, MBA; James E. Gray, MD, MS; Francis Bednarek, MD;
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               Objectives: To compare rates of narcotic administra-                  and 14, 2%), and NICU. We restricted analyses to the 1018
               tion for medically treated neonates in different neonatal             neonates who received mechanical ventilation on day 1.
               intensive care units (NICUs) and to compare treated and               Logistic regression, adjusting for birth weight and SNAP,
               untreated neonates to assess whether narcotics pro-                   confirmed a 28.6-fold variation in narcotic administra-
               vided advantages or disadvantages for short-term out-                 tion (odds ratios, 4.1-28.6 vs NICU A). Several short-term
               comes, such as cardiovascular stability (ie, blood pres-              outcomes also were associated with narcotic use, includ-
               sure and heart rate), hyperbilirubinemia, duration of                 ing more than 33 g of fluid retention on day 3 and a higher
               respiratory support, growth, and the incidence of intra-              direct bilirubin level (6.8 µmol/L higher [0.4 mg/dL higher],
               ventricular hemorrhage.                                               P = .03). There were no differences in weight gain at 14 and
                                                                                     28 days or mechanical ventilatory support on days 14 and
               Study Design: The medical charts of neonates weighing                 28. Narcotic use was not associated with differences in worst
               less than 1500 g, admitted to 6 NICUs (A-F), were ab-                 blood pressure or heart rate or with increased length of hos-
               stracted. Neonates who had a chest tube or who had un-                pital stay.
               dergone surgery were excluded from the study, leaving the
               records of 1171 neonates. We modeled outcomes by lin-                 Conclusions: Our study found a 28.6-fold variation
               ear or logistic regression, controlling for birth weight (,750,       among NICUs in narcotic administration in very low-
               750-999, and 1000-1499 g) and illness severity (low, 0-9;             birth-weight neonates. We were unable to detect any ma-
               medium, 10-19; high, $20) using the Score for Neonatal                jor advantages or disadvantages of narcotic use. We did
               Acute Physiology (SNAP), and adjusted for NICU.                       not assess iatrogenic abstinence syndrome or long-term
                                                                                     outcomes. These results indicate the need for random-
               Results: Narcotic use varied by birth weight (,750 g, 21%;            ized trials to rationalize these widely differing practices.
               750-999 g, 13%; and 1000-1499 g, 8%), illness severity (low,
               9%; medium, 19%; and high, 37%), day (1, 11%; 3, 6%;                  Arch Pediatr Adolesc Med. 1998;152:844-851


                                                                                                           Proposed benefits include reduc-
                   Editor’s Note: When a 28.6-fold variation is found in the use of                  tions in the catecholamine stress re-
                   any treatment with no noted major advantages or disadvantages,                    sponse,1 improved synchrony with the ven-
                   it’s time to raise the white flag and call in the controlled clinical             tilator,5 lower rates of pneumothoraces,
                   trial cops.                                                                       fewer days with a need for supplemental
                                                           Catherine D. DeAngelis, MD                oxygen, and diminished fluctuations in
                                                                                                     pulsatile blood flow.6 This last effect has
                                                                                                     been associated with decreases in intra-




                                                    T
                                                                    HE BENEFITS of narcotic an-      ventricular hemorrhage (IVH).7 How-
                                                                    algesia for relief of periop-    ever, narcotic administration also has been
                                                                    erative pain are well dem-       associated with substantial risks includ-
                                                                    onstrated, resulting in a        ing drops in blood pressure and heart
                                                                    clinical consensus and con-      rate,5,8,9 decreased oxygenation and respi-
                                                    sistency of practice.1-4 However, there is       ratory drive,5 and depression in the barore-
                                                    little agreement about the administration        flex control of heart rate.5,10 Other meta-
                                                    of narcotics to neonates in the neonatal in-     bolic responses, such as increased bilirubin
                                                    tensive care unit (NICU) who are not un-         levels,11,12 also have been documented in
                                                    dergoing surgical procedures. Despite the        association with the administration of nar-
               The affiliations of the authors      absence of clearly defined benefits and          cotics. Moreover, reductions in pneumo-
               appear in the acknowledgment         risks, strong opinions about the use of nar-     thoraces and chronic lung disease have not
               section at the end of the article.   cotics prevail.                                  been found consistently.9,13


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                    MATERIALS AND METHODS                                            and apnea). The SNAP is the sum of points given for the
                                                                                     physiologic derangements of each organ system. A higher
                                                                                     SNAP indicates a sicker neonate. The SNAP has been shown
                    STUDY DESIGN                                                     to be a highly significant predictor of morbidity and mor-
                                                                                     tality risk.24 We used several of the individual compo-
                    We performed a secondary analysis of data collected as part      nents of SNAP (eg, blood pressure measurement, heart rate,
                    of an ongoing study of NICU outcomes (see acknowledg-            and bilirubin level) as measures of specific organ-system
                    ments for a list of sites). For that study, we prospectively     effects. Data about important outcomes, including respi-
                    abstracted medical charts of all neonates with birth weights     ratory distress syndrome, bronchopulmonary dysplasia, IVH,
                    less than 1500 g admitted to 6 major regional NICUs dur-         and length of stay also were collected.
                    ing 21 months (October 1, 1994, to June 30, 1996). The
                    charts of neonates who were readmitted and neonates born         DATA COLLECTION
                    outside the study sites who were admitted after 24 hours
                    of life were excluded from the study. Neonates born in a         Data abstraction was performed prospectively using lap-
                    study site constituted 87% to 100% of the very low-birth-        top computers equipped with a customized data entry pro-
                    weight admissions to the 6 NICUs. Our intention was to           gram and explicit definitions. This process allowed for im-
                    study narcotic sedation in medically treated neonates, rather    mediate error checking and minimized the problem of
                    than pain control in surgical patients. We therefore ex-         missing medical charts. Extensive training and supervi-
                    cluded from analysis the charts of neonates who had a chest      sion ensured uniformity at all sites. Medical chart review
                    tube or pericardial tube in place or who had undergone ma-       was approved by the institutional review boards at all 6 par-
                    jor or minor surgery at any time. Since many of these sur-       ticipating institutions. To preserve the confidentiality of the
                    gical treatments occurred after day 1, we retained a larger      sites, they are labeled as A through F.
                    data set for day 1 analyses, but still excluded day 1 surgi-
                    cally treated neonates. Since all but 3 neonates receiving       STATISTICAL ANALYSIS
                    narcotics on day 1 were receiving mechanical ventilation,
                    we controlled for the 1018 neonates who received me-             All data management was performed using the Statistical
                    chanical ventilation on day 1. Narcotic use data were col-       Analysis System (Version 6.09; SAS Corporation, Cary, NC).
                    lected on days 1, 3, and 14 of hospitalization. Narcotic use     Univariate analyses were performed using t tests and x2 tests.
                    was defined as any narcotic administered during the 24-          Multivariate methods included linear and logistic regres-
                    hour period. We did not collect information about the dos-       sion, for which we used dummy variables for the site. Our
                    age or the type of narcotic. The methods of narcotic ad-         principal models used linear regressions predicting short-
                    ministration (intravenous bolus or constant infusion) were       term physiologic responses (eg, blood pressure measure-
                    recorded but were combined for most analyses. On study           ment, serum bilirubin level, and weight gain) as a func-
                    days 1, 3, and 14, we collected data by using a checklist of     tion of narcotic administration, adjusted for illness severity
                    other therapies included on the Neonatal Therapeutic In-         and birth weight. For outcomes with significantly skewed
                    tervention Scoring System22 (eg, modes of respiratory sup-       distributions, such as duration of mechanical ventilation
                    port, medications, invasive and noninvasive monitoring,          or oxygen treatment, we used log-linear regression. Short-
                    operations or procedures, feedings, use of intravascular cath-   term outcomes (eg, IVH and respiratory support at 28 days)
                    eters, and administration of transfusions) and calculated        were modeled using logistic regression. We repeated the
                    the Score for Neonatal Acute Physiology (SNAP),23 a neo-         intersite regression analyses using SUDAAN (Research Tri-
                    natal illness severity index. The SNAP assesses the worst        angle Institute, Research Triangle Park, NC), which con-
                    status of a neonate during a 24-hour period (12 hours for        trols for clustering, in computing site-specific SEs. Re-
                    day 1) for a variety of physiologic measures (including vi-      sults are stated as the mean ± SD or as odds ratios (ORs)
                    tal signs, laboratory values, and the occurrence of seizures     with 95% confidence intervals (CIs).




                    Narcotic tolerance develops rapidly, requiring                   creased heart rate, and fewer days with a need for supple-
               steadily higher doses, and is compounded by the rela-                 mental oxygen in 26 neonates. Orsini et al13 random-
               tively slow metabolism of opiates by premature neo-                   ized 20 preterm neonates receiving mechanical ventilation
               nates. 14 Iatrogenic narcotic dependence has been                     to fentanyl citrate infusion or placebo and showed re-
               reported to occur in 50% to 60% of patients in 2 pediat-              duced heart rate, more sedated behavior, and lower se-
               ric intensive care units15,16 and 1 NICU.17 Reports of                rum 11-deoxycortisol levels. However, the fentanyl-
               long-term adverse behavioral effects in children of                   treated neonates required higher ventilatory pressures and
               narcotic-addicted mothers and in animal studies are                   rates and remained catabolic as measured by 3-
               disturbing.18-21                                                      methylhistidine–creatinine ratios. None of the studies ad-
                    Despite the frequent use of narcotic sedation in the             dressed long-term outcomes. Considered together, these
               NICU, only 3 small randomized trials of narcotic seda-                studies demonstrated limited short-term benefits but were
               tion in nonsurgical neonates have been reported.5,9,13                too small to identify clinically significant adverse ef-
               Quinn et al9 demonstrated a significant reduction in cat-             fects, and they did not address long-term outcomes.
               echolamine levels in 41 neonates randomized to mor-                        Wide differences in clinician attitudes about nar-
               phine infusion or placebo. There were no other differ-                cotic sedation lead to marked differences in administra-
               ences in measured outcomes. Dyke et al 5 showed                       tion. We made use of these arbitrary (quasi-random) dif-
               improved synchrony with mechanical ventilation, de-                   ferences in clinical practice patterns to compare out-

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                  Table 1. Population Characteristics*

                                                                                                             NICU

                                                           A                   B                   C                    D                E                   F                 P
                  Birth weight, g                    1047 ± 294           1050 ± 289           1086 ± 263            996 ± 295      1080 ± 287          1082 ± 254          ,.01
                  Gestational age, wk                 28.2 ± 2.9          28.3 ± 2.7            28.3 ± 2.7          27.7 ± 2.8       28.5 ± 2.8          28.2 ± 2.8         ,.01
                  Boys                                   49.7                50.0                  58.8                53.3             49.1                53.0             .75
                  Apgar score ,7 at 5 min                42.7                20.5                  17.5                29.9             20.7                22.6            ,.001
                  SGA                                    12.6                12.2                   8.1                 7.2             12.8                 8.3             .19
                  Day 1 SNAP                          11.8 ± 6.7           9.9 ± 6.7             8.6 ± 6.6          11.7 ± 7.8        9.0 ± 5.7          12.0 ± 7.2         ,.01

                 *All neonatal intensive care unit (NICU) admissions (N = 1422) after day 1 exclusions. Values represent mean ± SD or percentage. The letters for the NICUs
               represent 6 NICUs that participated in the study. SGA indicates small for gestational age, less than the fifth percentile for birth weight; SNAP, Score for Neonatal
               Acute Physiology.

                                                                                                        ranged from 996 g to 1086 g (P,.01), and the mean
                  Table 2. Comparison of Patients Receiving                                             gestational age at birth ranged from 27.7 weeks to 28.5
                  and Not Receiving Narcotics on Day 1*                                                 weeks (P,.01). The significant variation in average day
                                                                                                        1 SNAP scores among the sites (8.6-12.0) indicates dif-
                                                    Narcotics       No Narcotics         P
                                                                                                        ferences in illness severity at admission. We therefore
                  Population characteristics                                                            adjusted for SNAP, as well as birth weight and mechani-
                     n                                199              1223            ,.001            cal ventilation, in each analysis. A comparison of the
                     Birth weight, g               929 ± 284        1080 ± 279         ,.001
                     Gestational age, wk           27.5 ± 2.6        28.5 ± 2.8        ,.001
                                                                                                        rates of low Apgar scores (,7) at 5 minutes also
                     Boys                             58.8              50.2             .07            showed significant inter-NICU differences. The propor-
                     White                            64.3              61.3            .14             tion of neonates born outside the study sites ranged
                     Apgar score ,7 at 5 min          43.7              23.5           ,.001            from 0% to 10% (data not given to preserve the identity
                     SGA                               5.6              11.8           ,.01             of sites). The lower birth weights, gestational ages, and
                     Day 1 SNAP                    16.0 ± 8.0         9.5 ± 6.1        ,.001            Apgar scores, and higher SNAP scores at NICUs A, D,
                  Treatment
                                                                                                        and F indicate a population at higher risk in these
                     Pressor support                  55.8              16.5           ,.001
                     Volume support                   46.7              16.5           ,.001            NICUs.
                     Mechanical ventilation           98.4              67.2           ,.001                  During the study period, 1572 very low-birth-
                     Treatment of acidosis            27.6               6.6           ,.001            weight neonates were admitted (primary admission) to
                     Arterial catheter                92.0              49.4           ,.001            1 of the 6 NICUs. We excluded 150 cases (9.5%) from
                     Ventilator use, d             33.5 ± 27.4       21.5 ± 26.5       ,.001            day 1 analyses for the following reasons: the neonate had
                     Oxygen use, d                 55.3 ± 39.8       31.9 ± 38.3       ,.001
                                                                                                        undergone surgery or had a chest tube in place (n = 33,
                                                                                                        2.1%); the neonate was not born at one of the study sites
                 *All neonatal intensive care unit admissions (N = 1422) after day 1
               exclusions. Values represent mean ± SD or percentage. SGA indicates small for            and was admitted after 24 hours of life (n = 18, 1.1%);
               gestational age, less than the fifth percentile for birth weight; SNAP, Score for        the neonate died within 24 hours of admission (n = 37,
               Neonatal Acute Physiology.                                                               2.4%); the neonate was transferred out of the NICU within
                                                                                                        24 hours of admission (n = 18, 1.1%); and the medical
               comes of a large cohort of neonates treated in different                                 chart was incomplete (n = 74, 4.7%). These exclusions
               NICUs, in which narcotic treatment reflected local prac-                                 resulted in 1422 charts included for day 1 analysis. An
               tices, not simply a sicker neonate. Fair comparisons were                                additional 251 medical charts of neonates were ex-
               achieved by adjustment for individual risk factors, in-                                  cluded from day 3, day 14, and short-term outcome analy-
               cluding birth weight and illness severity. The goals of the                              ses because of subsequent surgery or placement of chest
               present study were to compare rates of narcotic admin-                                   tubes or surgically placed central lines, resulting in use
               istration for medically treated neonates in different NICUs                              of the charts of 1171 neonates for day 3, day 14, and short-
               and to compare treated and untreated neonates to as-                                     term outcome analyses (a total of 401 were excluded,
               sess whether narcotics provided advantages or disadvan-                                  25.5%). The 199 neonates who received narcotics on day
               tages for short-term outcomes, such as cardiovascular                                    1 were more premature, sicker, and had lower Apgar
               stability (ie, blood pressure and heart rate), hyperbiliru-                              scores. Virtually all of these neonates received mechani-
               binemia, duration of respiratory support, growth, and the                                cal ventilation and a greater number of critical care treat-
               incidence of IVH.                                                                        ments (Table 2).

                                                 RESULTS                                                        NARCOTIC ADMINISTRATION BY BIRTH
                                                                                                                WEIGHT, ILLNESS SEVERITY, AND DAY
                                            POPULATION
                                                                                                        The administration of narcotics was more frequent for
               The demographic data for the patient population on day                                   the smallest neonates and declined with increasing birth
               1 are listed in Table 1 according to site. The NICUs                                     weight category (,750 g, 22%; 750-999 g, 13%; and 1000-
               are designated A through F and ranked by increasing                                      1499 g, 8%; P,.001) among the total nonsurgical co-
               day 1 narcotic use. The mean birth weight at the 6 sites                                 hort eligible for study after day 1. Use rates declined sig-

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                                                                                                  Day 1                            Table 3. Odds of Day 1 Narcotic Treatment by Birth Weight,
                                                   25

                Percentage Receiving Narcotics
                                                                                                  Day 3                            Illness Severity, and Mechanical Ventilation*
                                                                                                  Day 14
                                                   20
                                                                                                                                                                                Odds Ratio (95%
                                                   15
                                                                                                                                                      Risk Factor              Confidence Interval)
                                                   10                                                                                                 Birth weight, g
                                                                                                                                                         ,750                       1.0 (0.6-1.6)
                                                    5                                                                                                    750-999                    1.2 (0.6-1.6)
                                                                                                                                                         1000-1499                  1.0 (Reference)
                                                    0
                                                        <750          750-999                1000-1499                                                SNAP
                                                                   Birth Weight, g                                                                       0-9                        1.0 (Reference)
                                                                                                                                                         10-19                      2.3 (1.5-3.6)
               Figure 1. Narcotic use by birth weight and by day of life for all neonates
                                                                                                                                                         $20                        8.3 (4.5-15.2)
               weighing less than 1500 g at birth admitted to 1 of 6 neonatal intensive care
               units. Lesser use by increasing birth weight group was significant on days 1,
               3, and 14 (all P,.001). Declining rates of use from day 1 to day 3 and day                       *All neonates receiving mechanical ventilation (N = 1018) after day 1
               14 were significant within each birth weight group ( P,.001).                                  exclusions. SNAP indicates Score for Neonatal Acute Physiology.


                                                                                                                                                             SNAP
                                                          Day 1
                                                   40                                                                                     100                 Low
                  Percentage Receiving Narcotics




                                                                                                                Percentage Receiving Narcotics
                                                          Day 3
                                                                                                                                                              Medium
                                                   35     Day 14
                                                                                                                                                              High
                                                   30                                                                                            75
                                                   25
                                                   20                                                                                            50
                                                   15
                                                   10                                                                                            25
                                                    5
                                                    0                                                                                             0
                                                        Low            Medium                  High                                                     A            B   C           D          E     F
                                                                   Illness Severity                                                                                          NICU

               Figure 2. Narcotic use by illness severity on days 1, 3, and 14 for neonates                   Figure 3. Day 1 narcotic use for neonates receiving mechanical ventilation by
               weighing less than 1500 g at birth who were receiving mechanical ventilation                   level of illness severity and by neonatal intensive care unit (NICU). The
               on day 1 and eligible for the study during days 1 to 14 (see text). Illness                    neonates weighed less than 1500 g at birth. Illness severity was measured
               severity was measured using the Score for Neonatal Acute Physiology,                           using the Score for Neonatal Acute Physiology (SNAP), categorized as low
               categorized as low (0-9), medium (10-19), or high ($20). Declining use by                      (0-9), medium (10-19), and high ($20). There was substantial inter-NICU
               day was significant in each illness severity group (all P,.01). Differences                    variation in overall rates of narcotic use, as well as inter-NICU differences in
               between severity groups were significant on days 1 ( P,.001) and 3                             use according to each level of severity ( P,.001).
               ( P,.01).


               nificantly from day 1 to day 14 across all birth weight                                        gestational age, presence of an arterial line, or volume
               groups (Figure 1).                                                                             support, and no differences were noted based on weights
                     For the 1018 neonates who received mechanical ven-                                       considered small for gestational age. However, pressor
               tilation on day 1, narcotics were used most frequently for                                     infusions were significantly more likely to be used for
               the sickest patients (ie, SNAP $20) and less frequently for                                    neonates receiving narcotic infusions (73% of infusions
               moderately and mildly ill neonates (Figure 2). Narcotic                                        vs 52% of bolus; P,.02), suggesting a physician prefer-
               administration declined rapidly by day 3 and day 14. How-                                      ence effect.
               ever, initial severity of illness remained associated with high
               rates of use on day 3 (P,.001) and day 14 (P = .03). The                                                                                     VARIATIONS AMONG NICUs
               independent contributions of birth weight and illness se-
               verity as predisposing factors for narcotic use on day 1                                       Since illness severity and mechanical ventilation were the
               among the 1018 neonates who received mechanical ven-                                           2 major factors associated with narcotic administration,
               tilation are given in Table 3. This logistic model indi-                                       we compared rates of day 1 narcotic use, stratified by
               cates that lower birth weight exerts its effect entirely                                       SNAP, for neonates receiving mechanical ventilation, by
               through its association with higher illness severity. In this                                  NICU (Figure 3). NICUs D, E, and F showed signifi-
               population, moderately ill neonates were 2.3 times more                                        cantly higher overall narcotic use and, moreover, had sig-
               likely and severely ill neonates were more than 8 times more                                   nificantly higher rates of use for each level of illness se-
               likely to receive narcotics.                                                                   verity. The marked differences in narcotic use may be
                     On day 1, 38 (19.1%) of 199 narcotics treatments                                         driven by the additive risks of birth weight and illness
               were by infusion, the rest by intermittent boluses. Pref-                                      severity. To control for these combined effects, we used
               erence for constant infusion ranged from 0% at site C to                                       a maximum likelihood estimate model for the 1018 neo-
               100% at site B. This mode of treatment was used for                                            nates who received mechanical ventilation included in
               slightly sicker neonates (SNAP, 19.2 vs 15.2; P,.05) and                                       day 1 analysis, with sites B through F as dummy vari-
               for those with lower Apgar scores (65% of infusions vs                                         ables and site A as the reference. The adjusted ORs for
               35% of bolus; P,.01). There were no differences be-                                            day 1 narcotic use, given in the following tabulation, in-
               tween neonates receiving bolus vs infusion in birth weight,                                    dicate that the likelihood of treatment in sites B through

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                                                                                                  sults are given in Table 4 and discussed in the follow-
                  Table 4. Association of Day 1 and Day 3 Narcotic Treatment                      ing sections.
                  With Specific Short-term Outcomes*
                                                                                                                   Cardiovascular Stability
                                                           Attributable
                  Outcome                                     Effect        P       Model
                                                                                                  Narcotic treatment was not associated with significant
                  Cardiovascular (day 1 only)
                                                                                                  alterations in highest and lowest blood pressure mea-
                      Mean blood pressure, mm Hg
                         Lowest                                  ...       .13   Linear†
                                                                                                  surements and heart rates on day 1, independent of birth
                         Highest                                 ...       .11   Linear†          weight, illness severity, and mechanical ventilation.
                      Sustained heart rate, beats/min
                            Lowest                               ...       .07   Linear†                            Respiratory Outcomes
                            Highest                              ...       .09   Linear†
                  Respiratory, OR
                                                                                                  Narcotic administration on days 1 and 3 was not asso-
                      Receiving ventilation at day 14            ...       .52   Logistic†
                      Receiving ventilation at day 28            ...       .32   Logistic†
                                                                                                  ciated with the need for mechanical respiratory support
                      Duration of positive-pressure              ...       .12   Log-linear‡      on day 14 or on day 28. However, in this very low-birth-
                         ventilation, d                                                           weight population, the median duration of mechanical
                      Duration of supplemental oxygen          ...         .43 Log-linear‡        support was 23 days, so such short-term analyses may
                  Illness severity, day 3 SNAP points       +1.8           .001 Linear†           underestimate the effects. A more complete picture comes
                  Growth, weight, g
                                                                                                  from the analyses of duration of mechanical ventilation
                      Day 3                                +33             .001 Linear†§
                      Day 14                                     ...       .60 Linear‡é§          and duration of supplemental oxygen treatment. We used
                      Day 28                                     ...       .31 Linear‡§           log-linear models for handling the skewed distribution
                  Nutrition support, OR                                                           in respiratory support. A log-linear model tests for the
                      Gavage feedings, day 14                    ...       .07   Logistic‡        proportionate increase (or decrease) rather than the ab-
                      Parenteral nutrition, day 14               ...       .38   Logistic‡        solute increase (or decrease). We found a 63% relative
                      Central vascular line                      ...       .21   Logistic‡
                                                                                                  increase (95% CI, 34-101; P,.002) in days on which ven-
                  Serum bilirubin level, µmol/L (mg/dL)
                      Highest
                                                                                                  tilatory support was required for narcotic-treated neo-
                         Direct                            +6.8 (+0.4)     .03   Linear‡          nates on day 3. Similarly, the relative increase in oxygen
                         Indirect                              ...         .06   Linear‡          support for narcotic-treated vs untreated neonates was
                      Day 14                                                                      103% higher (95% CI, 60-160; P,.001). However, neo-
                         Direct                            +17.1 (+1.0)    .01   Linear‡          nates still receiving narcotics on day 3 were signifi-
                         Indirect                              ...         .10   Linear‡          cantly sicker than those who received narcotics on day
                  Intraventricular hemorrhage, any, OR       2.6           .04   Logistic†
                  Length of stay, gestational age              ...         .40   Linear§
                                                                                                  1 only (SNAP, 11.5 vs 6.6; P,.01). We therefore ad-
                      in weeks at discharge                                                       justed for day 3 illness severity. The revised results in-
                                                                                                  dicated no independent effect of narcotics on duration
                   *OR indicates odds ratio; SNAP, Score for Neonatal Acute Physiology; and       of mechanical ventilation or duration of supplemental
               ellipses, no significant effect.                                                   oxygen.
                   †Adjusted for day 1 SNAP.
                   ‡Adjusted for day 1 and day 3 SNAP. Effects attributable to day 3 narcotic
               use.                                                                                                     Illness Severity
                   §Includes small for gestational age.
                                                                                                  Our findings of higher severity of illness for neonates still
               F ranged from 2.0- to 28.6-fold greater compared with                              receiving narcotics by day 3 could result from 2 causes:
               the lowest-use NICU.                                                               (1) self-selection or bias of indication; narcotic admin-
                                                                                                  istration was more likely to be stopped for neonates who
                             NICU                                  OR (95% CI)
                                                                                                  received narcotics on day 1 when their conditions im-
                             A                                    1.0 (Reference)
                             B                                    2.0 (0.7-5.1)
                                                                                                  proved, while those who remained ill would be more likely
                             C                                    4.1 (1.5-11.0)                  to receive longer treatment with narcotics; and (2) causal;
                             D                                   13.6 (5.9-31.6)                  continued treatment with narcotics on days 2 and 3 might
                             E                                   22.3 (10.3-48.5)                 lead to a cycle of lowered blood pressure, higher vol-
                             F                                   28.6 (12.5-65.3)                 ume support, and edema, resulting in higher day 3 se-
                                                                                                  verity. To explore these possibilities, we performed a re-
                         SHORT-TERM OUTCOMES ANALYSIS                                             gression predicting day 3 severity from day 1 severity,
                                                                                                  birth weight, and day 1 narcotic use. We found that day
               Next we compared several short-term outcomes for the                               1 narcotic use was associated with a 1.8-point increase
               neonates who received narcotics on day 1, 3, or 14 with                            in the day 3 SNAP (P,.02) relative to neonates receiv-
               the remainder of the population who did not receive nar-                           ing mechanical ventilation, who were of comparable size
               cotics. In all models, we controlled for birth weight, SNAP,                       and severity of illness on day 1, who did not receive nar-
               mechanical ventilation, and site. For items that are in-                           cotic sedation. Most of this effect (1.2 points) was at-
               cluded in SNAP (specifically, highest and lowest day 1                             tributable to the respiratory subscore of SNAP (P,.001).
               heart rate and mean blood pressure measurements), we                               While this finding of more compromised respiratory sta-
               reduced SNAP by the corresponding variable in the re-                              tus cannot exclude bias of indication, an association with
               spective models. The 20 neonates receiving narcotics on                            narcotics during the first 12 hours strengthens the sec-
               day 14 were too few to permit multivariate analysis. Re-                           ond argument.

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                        Weight Gain and Nutritional Support                        ferences reflect differing clinical styles among physicians
                                                                                   practicing in the study NICUs. These practice patterns are
               Narcotic use on day 1 was associated with a 33-g in-                probably related to differing impressions about the haz-
               crease in weight by day 3 (P,.001), likely reflecting fluid         ards and benefits of narcotic use. It is noteworthy that this
               accumulation. In contrast, narcotic use on days 1 and 3             magnitude of variation exists among similar units. The 6
               did not predict weight gain at day 14 or day 28. Simi-              NICUs are major regional academic perinatal centers in 2
               larly, the levels of nutrition support at day 14 (eg, use of        adjacent New England states. Our findings raise the pos-
               parenteral nutrition and use of gavage feedings) were un-           sibility that even wider variations may exist among geo-
               affected by day 1 or day 3 narcotic use.                            graphically or organizationally disparate NICUs. These ob-
                                                                                   servations confirm that there is no common standard of
                                Serum Bilirubin Levels                             care for the administration of narcotics for high-risk neo-
                                                                                   nates. One explanation for the variation in narcotic use
               Narcotic administration was associated with signifi-                may lie in the difficulties of recognizing pain in neonates
               cantly increased direct but not indirect serum bilirubin            that might lead to overprescription or underprescription
               levels. Models predicting peak direct bilirubin as a func-          of narcotics.25-28 Another possible explanation lies in the
               tion of birth weight, SNAP, and day 3 narcotic use indi-            choice of therapy for neonates breathing asynchronously
               cated a 6.8-µmol/L or greater (0.4-mg/dL; P,.03) in-                against the ventilator. While some clinicians view narcot-
               crease compared with neonates who did not receive                   ics as the treatment of choice for such sedation, others pre-
               narcotics and a 17.1-µmol/L (1.0-mg/dL) differential el-            fer benzodiazepines or phenobarbital as sedatives.3,25,29
               evation on day 14 (P,.01). Narcotic use on days 1 or 14             Other clinicians believe it is feasible to calm agitated neo-
               was not associated with direct or indirect bilirubin lev-           nates by using nonpharmacologic measures, such as sooth-
               els. There were significant site-specific differences in day        ing by talking to or stroking them or by adjusting venti-
               3 direct and indirect serum bilirubin levels; however, con-         lator rates. The recent introduction of synchronized
               trolling for site-specific differences confirmed the ab-            ventilation also may affect sedation practices. In 5 of the
               sence of an association with narcotic use.                          6 participating NICUs, 90% to 100% of ventilators were
                                                                                   equipped for synchronized ventilation, and this was the
                                    Incidence of IVH                               mode of choice when a conventional ventilator was used.
                                                                                   At NICU E, only 50% to 60% of the ventilators were
               The incidence of any IVH for neonates receiving me-                 equipped for synchronized ventilation, but at site F, a higher
               chanical ventilation who had received narcotics on day              narcotic-use site, the percentage was 90%. This alone can-
               1 was 26.0% (33/127), which did not differ significantly            not explain the differences. We did not measure the sub-
               from the 21.5% incidence (142/659) for untreated neo-               stitution of alternative sedatives on a case-specific basis,
               nates. Logistic models controlling for birth weight, ill-           but our general impression was that aggressive treatment
               ness severity on days 1 and 3, and mechanical ventila-              was global; sites that used narcotics also used pressors, fluid
               tion confirmed this absence of association. The incidence           boluses, and supplemental sedatives.
               of severe (grade III-IV) IVH was 9.4% (12/127) for nar-                   Such widely divergent practice styles constitute a
               cotic-treated neonates and 3.3% (22/659) for neonates               natural experiment. Our study made use of these arbi-
               who received no narcotic treatment (P,.01). Because                 trary differences in clinician practices to compare out-
               treated neonates were sicker and smaller, we performed              comes in a large cohort of similar neonates, adjusting for
               a logistic adjustment. The OR remained elevated (OR,                birth weight, illness severity, and mechanical ventila-
               2.6; 95% CI, 1.05-6.7; P = .04). This finding may repre-            tion. We found that narcotic treatment was associated
               sent residual confounding by indication.                            with some clinically significant effects on short-term out-
                                                                                   comes. Narcotic use on day 1 was associated with a 33-g
                                     Length of Stay                                greater weight on day 3. This increase could be due to
                                                                                   associated fluid volume support, fluid retention from in-
               Surviving neonates who had received narcotics were dis-             activity, or both. Regardless of the mechanism, in-
               charged at ages comparable to those of the neonates who             creased weight on day 3 has been associated with a sig-
               had not received narcotics.                                         nificant increase in the development of chronic lung
                                                                                   disease.30,31 Narcotic use also was associated with small
                                       COMMENT                                     but statistically significant increases in serum direct bil-
                                                                                   irubin levels on day 3. Roth et al12 reported a similar find-
               Narcotic administration for very low-birth-weight neo-              ing, that neonates who received fentanyl had higher val-
               nates who do not have surgical conditions seems to be a             ues of serum bilirubin than did neonates in the control
               common practice in NICUs. We found that administra-                 group. The long-term clinical significance of these mod-
               tion of narcotics was reserved almost exclusively for neo-          est elevations in serum bilirubin is unknown, but it is
               nates receiving mechanical ventilation, although the ma-            likely to be inconsequential. Our finding of an associa-
               jority of these neonates did not receive narcotics. The             tion between higher day 3 illness severity and day 1 nar-
               present study also demonstrated considerable inter-                 cotic use probably represents bias of indication (ie, sicker
               NICU variation in narcotic treatment for very low-birth-            babies were still receiving narcotics). However, it does
               weight neonates (a 28.6-fold difference between the highest-        raise the possibility that prolonged narcotic administra-
               use compared with the lowest-use site) that cannot be               tion may delay resolution of illness, possibly through the
               explained by birth weight or by illness severity. These dif-        mechanism of fluid accumulation as noted.

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                     Owing to the nature of the study (medical chart ab-           verse effects have been demonstrated, that efficacy has
               straction), we did not measure acute cardiovascular and             not been established by clinical trials, and that serious
               metabolic effects immediately after administration of nar-          consequences, such as iatrogenic dependence or long-
               cotics. We did, however, record the highest and lowest              term behavior disturbances, remain to be determined. This
               blood pressure measurements and heart rates during the              study provides the clinical equipoise to justify a random-
               first 12 hours on day 1 and found that narcotic use had             ized trial,33 despite the blind passion of some critics.34
               no significant effect on these extreme values. There are                 Wide differences in the administration of narcotics
               conflicting reports involving the effects of narcotics on           for very low-birth-weight, medically treated neonates ex-
               cardiovascular function. Orsini et al13 found no differ-            ist among NICUs, and these differences cannot be ex-
               ences in mean arterial pressure between neonates who                plained by birth weight or illness severity. Our study found
               received fentanyl infusions and those who received pla-             several associated short-term adverse outcomes, includ-
               cebo, but they did find that the group who received nar-            ing elevated serum bilirubin levels, fluid retention, and
               cotics had significantly lower mean heart rates. Dyke et            delayed resolution of illness. There were no associa-
               al5 found a similar effect in morphine-treated neonates.            tions between narcotic treatment and cardiovascular in-
               In contrast, Roth et al12 and Miall-Allen and Whitelaw6             stability, chronic lung disease, growth, or discharge tim-
               found no relationship between narcotic treatment and                ing. The association with IVH probably represents
               change in heart rate. Friesen and Henry8 found a signifi-           confounding. We did not measure other important out-
               cant decrease in mean arterial pressure after administra-           comes, such as iatrogenic withdrawal and long-term de-
               tion of narcotics. A more controlled study, measuring the           velopmental, social, and behavioral effects, related to pro-
               immediate effect of narcotic use on cardiovascular func-            longed exposure to narcotics.
               tion in medically treated very low-birth-weight neo-
               nates, is warranted. The association in our study be-               Accepted for publication April 10, 1998.
               tween narcotic treatment and severe IVH likely represents                 From the Joint Program in Neonatology, Beth Israel
               residual confounding by indication; no previous studies             Deaconess Medical Center, Brigham and Women’s Hospi-
               have suggested that narcotic treatment enhances the odds            tal, Children’s Hospital, and Harvard Medical School, Bos-
               of IVH. Confounding by indication is present and pow-               ton, Mass (Mr Kahn and Drs Richardson, Gray, and Purs-
               erful; sicker neonates are more likely to receive narcot-           ley); the Department of Maternal and Child Health, Harvard
               ics and to have IVH. Adjustment for SNAP may incom-                 School of Public Health, Boston (Dr Richardson); Memo-
               pletely measure and control for the factors that cause IVH.         rial Health Care and University of Massachusetts, Worces-
               At a minimum, however, the absence of a protective ef-              ter (Dr Bednarek); the Department of Pediatrics, Brown Uni-
               fect of narcotic treatment against IVH is not consistent            versity and Women and Infant’s Hospital, Providence, RI (Dr
               with the hypothesis that sedation or skeletal muscle re-            Rubin); the Division of Neonatology, Baystate Medical Cen-
               laxation might reduce the cerebrovascular pulsatility and           ter, Springfield, Mass (Dr Shah); and the Division of New-
               protect against IVH.7,32                                            born Medicine, Floating Hospital for Children at Tufts New
                     There are several limitations to this study. First, it        England Medical Center, Boston (Dr Frantz). Mr Kahn is
               is an observational study making use of predefined vari-            a medical student at Albert Einstein College of Medicine,
               ables. Second, we did not measure important long-term               New York, NY.
               outcomes, including neurodevelopment and behavior.                        This study was funded by grant RO1-HS07015 from
               Several studies have found that prolonged in utero ex-              the Agency for Health Care Policy and Research, Rock-
               posure to opiates affects behavioral development (spe-              ville, Md.
               cifically, heightened activity and brief attention spans)                 Presented in part at the annual meeting of the Ameri-
               and motor inhibition.19-21 The similarity between the pre-          can Academy of Pediatrics, Boston, Mass, October 26, 1996.
               mature neonate in the NICU and the fetus in utero sup-                    We thank our project manager Trudy Brown Ripin, our
               ports suggestions that narcotics may affect brain devel-            analyst Jeff Hansen, and our abstractors, Issa Al-Aweel, Mi-
               opment and behavior. Third, we did not ascertain                    chael Bradish, Gina Smith-Compton, Susan Hamilton, Re-
               occurrence of iatrogenic withdrawal. Finally, practice pat-         becca James, Mary Naples, Jennifer Salzman, and Rick
               terns at the study sites may covary with narcotic use; eg,          Taranto. We appreciate the help of our other SNAP II col-
               clinicians at a given site may prefer a globally aggressive         laborators, Ciaran Phibbs, PhD, for recommending correc-
               practice style, using narcotics and pressors. By control-           tion for clustering; and Ann Stark, MD, Marie McCor-
               ling our multivariate models for site (and therefore for            mick, MD, ScD, and Anthony Orsini, MD, for commenting
               such copractices), we may be underestimating the ef-                on the manuscript.
               fects of narcotics.                                                       Other members of the study group were Stuart Weis-
                     The results of the present study are reassuring and           berger, MD, Memorial Health Care and University of Mas-
               cautionary. Advocates of narcotic treatment for very low-           sachusetts, Worcester; Marie McCormick, MD, ScD, Joint
               birth-weight neonates receiving mechanical ventilation              Program in Neonatology, Harvard Medical School and De-
               may argue that the absence of major untoward effects (on            partment of Maternal and Child Health, Harvard School of
               duration of respiratory support, growth, and age at dis-            Public Health, Boston, Mass; Steven Gortmaker, PhD, De-
               charge) and the limited clinical significance of the ill ef-        partment of Health and Social Behavior, Harvard School of
               fects (cholestasis, fluid retention, and possible delay in          Public Health; and Donald Goldmann, MD, Division of In-
               resolution of illness) should encourage brief narcotic treat-       fectious Diseases, Children’s Hospital, Boston. Participat-
               ment to relieve the pain and stress of intensive care. Al-          ing sites included Baystate Medical Center, Springfield, Mass;
               ternatively, it might be argued that several potential ad-          Beth Israel Deaconess Medical Center, Boston; Brigham and

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